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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

IN RE:                                               )
                                                     )
JEREMY DALE HOELTKE,                                 ) CASE NO. 18-91144-BHL A
                                                     )
                                 Debtor(s).          )

                     TRUSTEE’S REPORT OF POSSIBLE ASSETS AND
                        NOTICE OF PROPOSED ABANDONMENT

         Charity S. Bird, Trustee, hereby notifies the Court that there are possible assets in this
case, administration of which may result in a dividend to creditors. The Clerk is requested to
issue a Notice of Last Day to File Claims pursuant to Fed.R.Bankr.P.3002(c)(5).

         A complete inventory of the property of the Debtor(s) is listed on the attached Form 1.

         The Trustee also requests that the Clerk give notice pursuant to Fed.R.Bankr.P.6007(a)
that the property listed on the attached Form 1 is to be abandoned as exempt, burdensome, over-
encumbered, of inconsequential value to the estate, or otherwise not suitable for administration,
with the exception of Asset No. 6, Cash On Hand; Asset No. 7, Checking Account Centra Credit
Union; Asset No. 8, Savings Account Centra Credit Union; Asset No. 10, 2018 Prorated Federal
Tax Refund, which the Trustee will administer for the benefit of creditors herein.

DATED: October 21, 2018                                    /s/ Charity S. Bird
                                                           Charity S. Bird
                                                           P.O. Box 81
                                                           New Albany, IN 47151
                                                           (502) 540-8285
                                                           cbn@neukommtrustee.com
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2018, a copy of the Trustee’s Report of Possible Assets and
Notice of Proposed Abandonment was filed electronically. Notice of this filing will be sent to the
following parties through the Court’s Electronic Case Filing System. Parties may access this filing
through the court’s system.

United States Trustee
ustpregion10.in.ecf@usdoj.gov

MARK E. RISSER
RISSERLAWBK@GMAIL.COM


        I further certify that on October 21, 2018, a copy of the Trustee’s Report of Possible Assets and
Notice of Proposed Abandonment was mailed by first-class U.S. Mail, postage prepaid, and properly
addressed to the following:

                                                             /s/ Charity S. Bird
                                                             Charity S. Bird
